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EXHIBIT 2

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NA OF wm W HO fF

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

~--000---

THE APPLE iPOD iTUNES )
ANTI-TRUST LITIGATION, )

) No. C 05-00037 Jw

) C 06-04457 JW

VIDEOTAPE DEPOSITION OF MICHELLE M. BURTIS,
WEDNESDAY, SEPTEMBER 30, 2009

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D.

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Deposition of MICHELLE M. BURTIS, Ph.D., taken on

behalf of Plaintiffs, at COUGHLIN, STOIA, GELLER, RUDMAN

& ROBBINS, LLP, 100 Pine Street, 26th Floor, San
Francisco, California, commencing at 8:59 a.m.,
Wednesday, September 30, 2009, before Kelli Combs, CSR

7705.

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APPEARANCE OF COUNSEL:

FOR PLAINTIFFS:

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FOR DEFENDANT:

JONES DAY

BY: ROBERT A. MITTELSTAEDT, ESQ.
555 California Street, 26th Floor
San Francisco, California 941204

(415) 626-3939

ramittlestaedt@jonesday.com

Also present: Nick Kasimatis, videographer

Lynn Miller with Apple Computer

LLP

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25

conduct a proper before and after regression

analysis when the products in the before period have

been modified between the before and the after

periods?

A Well, I can't answer that question
generally. So I don't -- I can't say that it could
never be the case, but as I sit here, I'm not ~- I

can't think of a way to do that --
Q So --

A I'm sorry.

-- within the context of what we're

talking about here.

Q So you can't think of away t
y y

hat a

regression analysis could take account of product

modifications, technological changes in a product

over a period of years.

Is that what you're saying?

QO That's what I thought you said.

should rephrase your prior answer.
MR. MITTELSTAEDT: Objection;

argumentative.

THE WITNESS: Your question a
about whether a regression analysis can

account chances in products, and cerzain

sxked simply

Maybe you

10
9:10:24AM
9:10:45AM
9:11:05AM
9:11:17AM
9:11:27AM
9:22:42 AM

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11
1 possible to take into account product 9:11:44AM
2 characteristics and changes in products.
3 BY MS. SWEENEY:
4 Q Okay.
5 So it is possible to take into account 9:11:55AM
6 product characteristics and changes in products; is
7 that correct?
8 A In some circumstances, it is possible to
9 do that.
10 Q Okay. 9:12:07AM
11 And you're just saying that it's not
12 possible in this case to do that; is that right?
13 A What I'm saying is that the way that --
14 what Dr. Noll has proposed in his report, what he
15 has described is a before and after approach, and 9:12:20AM
16 what he's got are products that were only sold in
17 one of the two periods. And he --
18 QO You're saying the iPod was not sold -- I'm
19 sorry, did I interrupt you?
20 A You did but -- 9:12:36AM
21 Q Okay. Go ahead.
22 A Actually, I don't remember what I was
23 going to say.
24 Q Okay
25 Sc are you saying thar the iPod wasn't 9:12:42AM
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sold in the after period?

A I'm saying that certain iPod products were
only soid in one of those two periods.

Q So in other words, there are different
models that were soid in the before period from the
after period; is that right?

A I prefer to say it the way that I did,
which is there were certain iPod products that were
sold in only one of the two periods.

Q So they're completely different products,
in your mind?

A I'm sorry, what is a completely different
product?

Oo I was trying to draw the distinction
between different models of iPods. And you're
saying no, they are completely different products?
Did I misunderstand you?

A I wasn't focused on that difference in the
way that we were using those terms. Se I'm not

4

quite sure what you're referring to.
You said that Professcr Nolli's
methedolegies won't work to caéicu ate damages.

Did you perform any kind of analysis to

12

9:12:46AM

9:12:59AM

9:13:16AM

9:13:24AM

9:13:38AM

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13
A Well, the analysis that I performed was 9:14:09AM
evaluating what he had described and considering
that, given what I understood to be some facts about
the products.
QO So you didn't take any data yourself and 9:14:25AM
attempt to do a regression along the lines as
described by Professor Noll; is that right?
A Well, there -- you know, it would be very
difficult to do that.
Q But you didn't try it? 9:14:50AM
A well, given what Dr. Noll has said, it's
unclear how I would even go about doing that.
QO Have you --
You know how to do a regression analysis,
though, correct? 9:15:05AM
A Yes.
QO And you were retained by Apple in this
litigation, correct?
A Yes.
Qo SO you presumably had access to Apple 9:15:11AM
materials, correct?
A I don't know what you mean.
QO Did Apple provide you with any materials
te review in connection with your retention in this
matter? Srl 120 AM

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A

Exhibit 2.

Q

You know,

the things that are listed on

But you didn't ask for anything other than

what Apple's counsel gave you?

A
correct.

Q

A

question,

So your characterization is not quite

Okay.

Would you correct me?

The ~- I was asked to look at a particular

and I either went out and found the

information that I thought was relevant to evaluate

that information or asked Apple's counsel for that

information.

Q

Okay.

And these two methods

found information,

counsel

for information.

-- you went out and

and then you also asked Apple's

All of that information is

reflected in the exhibit to your report that lists

all the materials you reviewed?

A

O

I believe so,

So Apple

pricing data other

report?

Whatever

yes.

~- did Apple provide you with any

than what's

is listed in

listed

in your

my report.

fohing --

did you

ask

if

14

9:15:30AM

9:15:43AM

9:15:54AM

9:16:10AM

9:16:26AM

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you could see more data? 9:16
A I'm sorry, what kind of data? The
information --
QO I'm sorry, my question wasn't clear, so
I'm going to withdraw it. 9:16
Was there anything that you asked Apple to

look at that you didn't get?

A No.
QO And -- okay.
So I just want to go back to your original 9:17

answer where you said Professor Noll's methodologies
won't work, and those are your words, "won't work,"
to calculate damages. And I just want to make sure
T understand the answer.
So you're saying that you reached that 9:17
conclusion on the basis of the materials reviewed
that are listed in an exhibit to your report and on
the basis of review and evaluation of Professor
Noll's methodology.
But you, yourself, did not conduct any 9:17
separate regression analysis or any other

Statistical analysis to determine whether Professor

Noii'ts methodclcgies would work; is than correct?
ft Fo-- =f have not done any statistical
an@l.ysis along the iines thar -- that Dr. Noll 9:28

15

:48AM

:58AM

:22AM

:35AM

:S1AM

4AM

pad

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16

describes in his report. That's true. 9:18:19AM
Q Okay.
Now, you said that his methodologies don't
take into account certain realities of the
marketplace -- 9:18:33AM
MR. MITTELSTAEDT: Sorry.
MS. SWEENEY: I'm going to start over.
BY MS. SWEENEY:
Q You said that Professor Noll's
methodologies didn't take into account certain 9:18:42AM
realities of the marketplace for iPods and iTunes.
What realities of the marketplace for
iTunes were you referring to?
A One of the -- the way that I understand
what Dr. Noll -- Dr. Noll thinks or the way that he 9:19:10AM
would perform, for example, his before and after
approach, it is -~ and he has not described a way to
separate the -- the qualities of iTunes that are not
affected by the alleged conduct -- from the alleged
conduct. That is an example that comes to my mind. 9:19:40AM
But again, I would go back to, you know, my report
for a more compiete answer.
O Barliecr you were testifying about -- you
said tha: Professor Noil didn't take into account

that som products were oniy sc_.d in either the 9:20:00 7AM

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23
1 but -- 9:28:03AM
2 Q Okay.
3 And in your report or attached to your
4 report, you had some product announcements that had
5 certain specifications for particular iPod models. 9:28:13AM
6 And as you recall those product announcements, do
7 those announcements identify those kinds of
8 characteristics that you just talked about, such as
9 Capacity, weight, size, design, screen-size, et
10 cetera, et cetera? 9:28:34AM
11 A Well, I would have to look at them to know
12 the answer to that question..
13 OQ Don't you remember those documents that
14 you attached to your report?
15 A I remember them generally, but I can't sit 9:28:45AM
16 here and tell you that they had each of those or any
17 of those characteristics in them.
18 0 Well, are you familiar generally with the
19 materials that Apple uses to describe and advertise
20 its products? 9:29:03AM
21 A I'm not sure what you're referring to.
22 OQ Do you think it is knowable for any
23 particular iPod model what che capacity of thar
24 model is?
25 A Yes S:29:24AM
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3 any parti

Okay.
Bo you think it's knowable with respect to

cular iPod model what the weight of that

4 model is?
5 A Probably.
6 0 You don't know for sure?
7 A You might have to weigh it, but I think --
8 Q You don't think Apple describes the weight
9 in its product announcements?
10 A I don't know that it does that for every

11 product that it sells.

12 QO You didn't check?

13 A No.

14 Oo How about size? Do you think it's

15 knowable for each iPod model to determine what is

16 the size of that model?
17 A Yes, I think you could measure them, for

18 example.

19 Q How about design? What were you referring
20 to when you said "design"?

Z21 A The -- the way the Click Wheel is

22 designed. Or the -- can't think of another word

23 pesides "design." The way that a product liooks, for
24 exampie, the way that the Touch lcoks, the way that

25 foo -- icens are displayed on the Touch, for example.

24

9:29:25AM

9:29:33AM

9:29:44AM

9:29:53AM

9:30:05AM

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Oo Anything else?

A I'm sure there are other examples of that,
but those are the ones that occur to me now.

Q How about whether a particular iPod model
has the ability to display video or photos? Is that

knowable?

A Yes.

QO How about screen-size? Is that knowable?
A Yes.

° Can you think of any product

characteristics, that's the phrase that you used in
your report, about a particular iPod model that are
not knowable?

A I don't know. I can't think of something
that is not knowable. By "knowable," I mean one
could describe it.

QO Okay.

MS. ROACH: I'm sorry, the streaming on
this is messing up. IT just want to --
MS. SWEENEY: Off the record.

THE VIDEOGRAPHER: We're off the record at

(Brief pause in proceedings.)

THE VEIDECGFNPHER: We're on the record at

uw
cL
Ch)

8M.

25

9:30:49AM

9:31:03AM

9:31:17AM

9:31:33AM

9:32:07AM

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BY MS.

SWEENEY:

0 Did you conduct any analysis of how you

would estimate damages in this case?

no.

A Aside from what I've done in my report,
Q Okay.
Now, if this were not a Class case, let's

say it were just an individual case, how would you

go about estimating that individual's damages?

A Well, I haven't really thought about that,

so I'm not really prepared to tell you how I would

do that.

Q But you have done damage calculations in

other antitrust cases, correct?

economists go about calculating damages in antitrust

A I have done damage calculations, yes.

QO And you are familiar generally with how

cases?
A Well, I'm not really sure there is a
general way to do it. I think that it really

depends on the particular issue and product and

O Weil, let's taix about this case. if

-~- do you

know who the individual Plaintiffs

26
9:40: 40AM
9:40:58AM
9:41:13AM
9:41:27AM
9:41:40AM
S24l:02AM

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30

sale or that product. 9:46:44AM
Q Okay.

Here is the problem m having with your

answer and where I think perhaps we're
miscommunicating. You keep inserting this phrase 9:46:52AM
"Professor Noll has not described.a way...."
I want you to just take Professor Noll's
methodology as you have read it and you have
understood it and assume one Plaintiff who purchased
one iPod in 2006. 9:47:07AM
Is it your opinion that Professor Noll's
before and after methodology would not work to
calculate damages for that individual Plaintiff?
A Again, I would refer bacx to my prior
answers. The reason for that phrase is because -- I . 9:47:26AM
think I'm saying the same thing that you are. What
he has described, that is, the way that TIT understand
what he has described for a product that is not sold
in the two periods, he hasn't described a way that
before and after method couid be used. 9:47:46AM
Q Okay.
Is there any before and after methodology
that, in your opinicn, could eco used to calculate

damages for an individual Plaintiff who purchased an

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LPod in 2006, assuming that Plaint:

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24

25

liability in this case?

A My understanding of a before

to actually compare something in the before period

to the after or the during period, actu
more accurate way of describing it. So
have a comparison in one of those two p
it's almost by definition you can't --

that as a way to -- you don't have anyt

compare the price to.

Q And the reason you'tre saying there can be

no comparison here is because there is
this is the word you used in your repor
vast differences between iPods soid in
period and the after period; is that co

A Well, that's not the only rea

certainly -- that is -- that is a probl

QO You said so if you doen't have a comparison

aT

in one of those two periods, then it's
definition you can't use that as a way

the price to.

So what I'm trying to figure out is:
Apple calls this thing that we're Litiqating about
here an iPod, and it scold iPods ir the pefere
period, and it soid iPeds in the curing per ad, a
if there is an after period, Aprils continues r19 s

and after

ally, is a

Lf you don't
eriods, then

you can't use

hing to

--. I think

t, there are

the before

rrect?

son. That is

em.

almost by

co compare

31

9:48:03AM

9:48:16AM

9:48:37AM

9:48:52AM

9:49:19AM

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32

iPods in the after period. 9:49:40AM
Now, they are all iPods, but your opinion

is that there are -- differences among those models

of iPods are so vast that you can't compare them

meaningfully from one period to the next; is that 9:49:52AM

correct?
A The problem is that there are differences

in the products and those -- and the differences in

the products, there are characteristics, for

example, of products where those characteristics 9:50:15AM

exist only in one of the two periods. And so in

order to make a comparison, you have to do something

to control for those characteristics while at the

same time controlling for the difference in the two

time periods. 9:50:39AM
QO So it is possibie to centroi for

differences in characteristics; is that correct?

Isn't that what you just said?

MR. MITTELSTAEDT: Objection; misstates

THE WITNESS: The answer to the question

it is certainly possin ls in certain circumstances

and with certain methods.

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BY MS. SWEENEY:

Q

A

Q

Yes.
itm sorry, is that the end of your answer?
Yes.

It is certainiy possible in certain

circumstances and with certain methods to control
for differences in characteristics among products.
Is that what you're saying?
A I believe that's what I'm saying.
Q Okay. All right.
Now let's change it up a little bit.
Let's assume that instead of Melanie Tucker, our
only Plaintiff is Best Buy.

Do you Know what Best Buy is?

A Yes.

QO You understand that they are a reseller of
iPods?

A (Nods head.)

Q In fact, they are the number one reseller

of iPods, at icast according to data produced by

Apple.
Were you aware of that?
A T ar! boca@i.c That, 4S 2 sit here.
mean, I would -- well, 7 “an, Eor & particular time
period? Or LALA - 2, 2 Just doen't xno fhe

33

9:51:10AM

9:51:18AM

9:51:31AM

9:51:47AM

9:51:54AM

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35
1 A Weil, you know, the yardstick method is -- 9:53:43AM
2 would it work? There are all kinds of reasons.
3 There are problems that are associated with that
4 method, and so unless one could overcome those, it
5 would not work. : 9:54:13AM
6 Q Okay.
7 So all the problems that you have
8 identified with respect to Class damages and the
9 yardstick method would also apply to calculating
10 damages for an individual Plaintiff under the 9:54:25AM
il yardstick method; is that your testimony?
12 A I'm sorry, would you repeat that? I lost
13 it
14 © Sure.
15 You said there are all kinds of problems 9:54:34AM
16 associated with the yardstick method. Now, is it
17 your opinion that the same problems that you have
18 identified with Professor Noll's yardstick
19 methodology would also apply if you were attempting
20 to use that methodology to calculate the damages for 9:54:51AM
21 an individual Plaintiff, assuming Plaintiff proved
22 siabilicy?
3 x ZPoden't snow that there would ce any
4 additieral probiems, mur certainiy the propiems thar
5 Ive leis mtifiec woul exis: ter an individua. 9:55:11AM

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36
1 Plaintiff. 9:55:17AM
2 Q Okay
3 And how about the markup methodology? Is
4 it -- assume there is just one individual Plaintiff
5 who purchased an iPod in 2006, and she proves 9:55:26AM
6 liability.
7 Is it your opinion that Professor Noll's
8 markup methodology would not work to calculate
9 damages for that individual Plaintiff?
10 A I'm sorry. 9:55:51AM
11 Q Okay. I'll start over. No problem.
12 Moving on to the markup method, and I'm
13 still using the individual consumer Plaintiff. So
14 assume a single Plaintiff who purchased an iPod from
15 the Apple store in 2006. 9:56:06AM
16 Is it your opinion that Professor Noll's
17 markup methodology would not work to calculate
18 damages for that individual Plaintiff, assuming she
19 had already proved liability?
20 A And the -- so the hangup that am having 9:56:22AM
21 is when I'm thinking about an individual consumer,
22 to the -- Dr. Noll has this method that -- or he has
23 unhese three methods, and, you xneow, another opinion
24 leomy report is thar he hasn't considered in anv one
5 the Thpee methous the -- mec cvepeharae, 9:56
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40
1 product that one could compare to iPod products or 10:01:38AM
2 maybe several products to compare to several iPod
3 products, that problem would exist for Best Buy, as
4 well.
5 QO Okay. 10:01:51AM
6 Now, a few --
7 MR. MITTELSTAEDT: When you move on to a
8 different subject, if we could just take a short
9 break.
10 MS. SWEENEY: Sure. I'm just following up 10:01:57AM
11 on something.
12 MR. MITTELSTAEDT: Yeah.
13 BY MS. SWEENEY:
14 Q . A few answers ago you referred to the net
15 overcharge issue. Can you explain to me what your 10:02:03AM
16 view is of the net overcharge problem?
17 A Well, the problem, I think, is that there
18 hasn't been any consideration to whether or not the
19 price of music would be different in the but-for
20 worid. 10:02:24AM
21 Q And why would that matter?
22 A Weil, because if the price of music is
23 higher in the but-for werid, then impact and
24 damaces, actually, couid se differen: for --
25 deperndine how much music ven puy and cculid be LO:102:46AM

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24

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different for different direct purchasers.

OQ And why is it that you have to take -- as
an economist, what -- what makes you think you have
to take into account the but-for price of music
purchased from the iTunes store?

A Well, I think that it is part of -- it is
part of the theory that the Plaintiffs are advancing
in this case,

QO And what makes you think that's part of
Plaintiffs' theory?

A Because Plaintiffs are claiming that the
attractiveness of iTunes led to an increased demand
of iPods and, therefore, raised the price of iPods.
And so to the extent that certain people wanted to
buy iTunes because it was attractive but didn't
because they didn't want to buy an iPod, then in the
but-for world, they could buy some other device and
purchase iTunes, increasing the demand for iTunes
and increasing the price of iTunes.

Qo Now, is your theory that the price of
iTunes matters, is that true whether we're talking
€aoout a@ monopolization ciaim?

Is it true -- 2 theught you said either,

Yeah, T'ii starh cover.

41

10:02:49AM

10:03:04AM

10:03:25AM

10:03:49AM

10:04:10AM

2O7104:.9AM

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43
1 this case? I know you're not a lawyer, but just do 10:05:54AM
2 you have any understanding of what Plaintiffs'
3 claims are?
4 A Yes.
5 Q And what are they? 10:06:01AM
6 A I believe there is both a monopolization
7 claim and a tying claim.
8 Q Okay.
9 So let's say Plaintiffs are only
10 attempting to prove in Section 2 a monopolization 10:06:11AM
11 claim.
12 Is it your opinion that in order to
13 accurately calculate damages, one must take into
14 account what the price of music and videos purchased
15 from the iTunes store would have been in the but-for 10:06:24AM
16 world?
17 MR. MITTELSTAEDT: Let me object to the
18 extent it calls for a legal conclusion.
19 THE WITNESS: It's unclear to me how -- I
20 mean, I think there is just one but-for world that's 10:06:36AM
21 being -- certainly Dr. -- Dr. Noll, the way that he
22 descrines the but-for world doesn't seem to change
23 depending on what the claim is.
24 Se my understandins of the Plainztiffs'
5 thecr in this case is as 2 descrioed it earlier i 2 ArD |

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44
1 my prior answer. 10:07: 00AM
2 BY MS. SWEENEY:
3 QO So your answer to my question is yes?
4 A I can't remember. You have a very iong
5 question. 10:07: 08AM
6 . 0 Okay. I can read it over again.
7 And I'm sorry if I'm wordy.
8 All right. Let's say Plaintiffs are only
9 attempting to prove a Section 2 monopolization
10 claim. 10:07:24AM
ii Is it your opinion that in order to
12 accurately calculate damages, one must take into
13 account what the price of music and videos purchased
14 from the iTunes store would have been in the but-for
15 world? 10:07:36AM
16 A I think with the monopolization.claim or
17 the tying claim, that given Plaintiffs' theory, one
18 has to consider whether there was an effect on the
19 price of music, yes.
20 Q Okay. 10:07:50AM
21 Now, you're aware that the Class, as
22 defined by Plaintiffs, includes both consumers who
23 purchased from the Apple store and resellers, like
24 Best Buy; is that right?
29 i Yes. Bur0S 204s

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Q

Okay.

Now, if you were -- if you were

calculating damages for the resellers who are

Class,

your view,

such as Best Buy, is it also necessary

in the

, in

to take into account what the price would

have been in the but-for world for music and videos

purchased from the iTunes music store?

A It's an interesting question. Clea
Best Buy doesn't purchase music, at least as
Ioknow. But I don't know. Maybe they do. I
know the answer to that. I'm not sure. I wo
have to think about that.

QO Okay. Now, let's assume that Plain

strike that.

rly,
far as
don't

uld

tiff --

Let's assume that Plaintiff proves that

Apple engaged in unlawful conduct that violates

Section 2 of the Sherman Act. And it's time

calculate damages, and let's assume that it's

already been proven that Apple charged a

Super-competitive price for iPods as a resuit

anticompetitive behavior.

Now, Apple tock some of those

Ssuper-compectitive prceducts thai it achivvec
them to give out goodies to its custome:is a4
Apple stere For example, you row, a ipes

45

pa
oO

:08:06AM

10:08:20AM

10:08:45AM

10:09:21AM

°0:09:39AM

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Everybody gets a free book. Now, those free books
were paid for by the super-competitive prices that
Apple charged for iPods.

Is that something ~- does that figure into
your net overcharge analysis? Is that something
that you would have to take into account in
calculating damages?

MR. MITTELSTAEDT: Let me object to the
question. It's an incomplete hypothetical and
perhaps incomprehensible hypothetical.

THE WITNESS: Actually, I don't understand
it.

BY MS. SWEENEY:
QO Okay. T'll try. again. I'll try to make
it a little more specific.

MR. MITTELSTAEDT: I do with a little more
urgency renew my request for a break as soon as you
get to a convenient breaking spot.

MS. SWEENEY:

All right. We can break

now, if you like.

MR. MITTELSTAEDT: Toworn't talk about that
question with her.

MS. SWEENEY: You can vawn amour it, if
you want

MR. MITTELSTAEDT: Weo., lo would ASR her

46

10:10:05AM

10:10:19AM

10:10:30AM

10:10:54AM

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60
1 BY MS. SWEENEY: 10:37:31AM
2 Q Tt's a new guestion. I get to asx new
3 questions.
4 A The focus of your question is different
5 than -- I just want to make sure that -- 10:37:39AM
6 Q Okay.
7 Do you want me to ask it again?
8 A Yes, ask it again.
9 Q Is it your opinion that in a market where
10 there is technological changes, that there are some 10:37:49AM
11 circumstances where it's possible to construct a
12 damage model common to all Class members to
13 calculate damages?
14 A There --
15 QO Strike that. Let me redo that question. 10:38:07AM
16 Are there circumstances under which you
17 can construct a before and after regression analysis
18 to calculate damages common to all Class members
19 where the product at issue has changed significantiy
20 over the Class period? 10:38:28AM
21 MR. MITTELSTAEDT: Object; incomplete

22 hypothetical.
23 THE WITNESS: = would just say it depends
4 BY MS. SWEENEY:

5 Go And what does it deperd «ar. 2Oree1 8 AM

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A One thing it depends on is whether the

changes in that product are occurring, for example,

would occur at the same time as the -- as the line

between the before and the after period.

Q Okay.

And so when you say "the line between the

before and after period," you're talking about the

beginning of the anticompetitive conduct? Is that

what you're referring to?
A Yes.

Q Okay.

So if those product changes don't occur at

the same time as the beginning of the
anticompetitive conduct, is it then possible to

construct a valid damages model, ever though the

product has changed significantly during the Class

period?
MR. MITTELSTAEDT: Object; incomplete

hypothetical.

THE WITNESS: If -- if you are deing a
regression analysis of -- before and after
regression analysis where, you know, the standard
traditional way of doing that is te use a variable
that distinguishes the cefore and afrsy period, if
you are doing that and if you have s1sractcristics

or

61

10:38:38AM

10:38:59AM

10:39: 09AM.

10:39:20AM

10:39:30AM

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62
1 of products that exist in only one of the two 10:39:50AM
2 periods, then the resuit that you would get would
3 not validly -~ could not distinguish the effect of
4 the before and after period from the effect of that
5 characteristic that was added. 10:40:08AM
6 MS. SWEENEY: I'm going to ask the Court
7 Reporter to read back my question again, please.
8 (Record read as follows:
9 "9 So if those product
10 changes don't occur at the same 10:40:18AM
11 time as the beginning of the
12 anticompetitive conduct, is it then
13 possible to construct a valid
14 damages model, even though the
15 product has changed significantly 10:40:18AM
16 during the Class period?")
17 THE WITNESS: Iomean, 2 think I answered
18 the question.
19 BY MS. SWEENEY:
20 QO Do you know what a hedonic regression is? 20:40:46AM
21 A Yes.
22 QO What is it?
23 A It i8 & rvreeressicn where price is
24 regressed on product characteristics.
5 Q Have you ever done cus! -242:C0AM

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Tocan't think cf one, but I may have done

one in the past.

Q

Q

A
example.

Q

A

Q

Okay.

And you have seen them done?

Yes.

In other cases?

Yes.

What

Well,

cases?

I just saw one done in Flash, for

And the expert for the Plaintiffs did it?

Yes.

And who was the expert?

There were two.

Who were they?

Dr. Noll was one, and Janet Netz was the

Which of these two experts did the hedonic

regression?

A

Q

Both

of them.

And you were asked to comment on the

hedonic regression?

Io

ActuUé
What
Biv ore

CUGLLV, 2 NUS Neu.

63

10:41:04AM

10:41:09AM

10:41:20AM

10:41:29AM
10:41:41AM
~O:42:53AM

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pass-through.

Q Okay.

So who was the expert who addressed the
Direct Purchaser issues, such as presented by
Professor Noli's report?

A Michael Keeley.

Q All right.

So are you familiar, then, in the Flash
case or in any other case of examples of where a
hedonic regression has been used to place values on
product innovations?

A I'm sorry, product innovations?

Q When I say "product innovations," I'm
talking about what you have referred to in this
case, which is that the iPod has changed over time,
many new features have been added and things have

changed. That kind of product innovation.

A So when you say that, what I think of is a

particular iPod product, Like a Nano changing
characteristics.

Ss that what you're talking about?

QO Let's use that as an example.

A Ok aY o'M SOLE, hat as the question?

Q Have \ SEC} se where hedonic
regressior aS 1 ze L preaiuet inmnmevations

64

10:41:56AM

10:42:08AM

10:42:26AM

10:42:45AM

10:43:08AM

21-b5 122 AM

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65
1 A Innovation part is making this difficult 10:43:41AM
2 for me to answer. I have certainly seen hedonic
3 regressions where price is regressed on
4 characteristics, and those characteristics can
5 change over time. 10:43:55AM
6 Q Okay.
7 And where have you seen that done?
8 A Well, the one that I am most recently
9 familiar with is the Flash regressions.
10 Q And that was conducted by Noll and Netz? 10:44:12AM
11 A That's correct.
12 QO In your report, you refer to a regression
13 model that you constructed in connection with
14 Hurricane Katrina.
15 Do you recall that? 10:44:49AM
16 A Yes.
17 Q All right.
18 And you said in your report:
19 "One of the reasons I was able
20 to reiiably estimate a regression 10:44:54AM
21 model there was that sufficient
22 data were available before the
23 Hurricane struck."
24 MR. MOD TELSTAEDT: Would vou give us the
25- paracuraph chere, mlecase? 10:45:07AM

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66
MS. SWEENEY: Paragraph 3. 10:45:11AM
THE WITNESS: I'm sorry, did you ask me a
question?
BY MS. SWEENEY:
o Do you have that in front of you? Did i 10:45:36AM
read that correctly?
A Yes. I don't know that you read it
correctly. I see the reference to the Hurricane
Katrina paper in paragraph 3 of my report.
QO Okay. 10:45:48AM
And you also talked about this Hurricane
Katrina report in the evidentiary hearing that was
held in the Indirect Purchaser case; is that right?
A Yes.
QO Okay.. 10:45:58AM
And then the article that came out of that
analysis was produced in this litigation and is
called Petroleum Refining Industry Business
Interruption Losses Due to Hurricane Katrina,
correct? 10:46:11AM
A Yes.
Co And that's a paper that you coauthcred

With = other peop_e
A Yes,
Ard were vou hired x rsurers te ceondus Qide:1leAM

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I don't remember the source of the data.

BY MS.

Q

A

Q

SWEENEY:

Okay.

Do you remember the volume of the data?

What do you mean the volume of the data?

Well

f

did you have -- how many price

points over what period of time did you have data

for?
A I don't recall.
QO All right.
Now, the forecasting model that you used
in the Hurricane Katrina paper -- and let me know if

you want me to get a copy of that, and we'll do that

during a break because I don't want to interrupt,

but we'll

paper that --

you use,

come back to it. But you said in your

you described the specification that

and you said, "This specification is chosen

from 30 alternative specifications."

alternatives and through

Does that mean that you looked at

trial and error chose the

one that best fit what you were working on?

A The method that we used, if I recall
correctly, was -- well, my recollection is that
there was a period cf time prior to the hurricane,
and the model was estime ad over that period of

69

10:48:35AM

10:48:45AM

10:49:04AM

10:49:27AM

10:49:40AM

20:560:05AM

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time,

and there were a number of variables and

specifications.

And the -~ the way that we chose the

particular model that we would use to forecast what

prices would be over the next,

T think

it was a few

weeks, I don't remember how long, maybe a couple of

months after the hurricane,

was to

pick the

particular specification that best fit the data in

the historical period.

QO Okay.
And when you say you chose the one that
best fit the data, did you mean that you -- you

chose from alternatives?

alternatives,

the best?

criteria that we used,

A

Well,

So

You looked at some other

and you figured out which one worked

there was a particular statistical

QO T'm sorry.
A Well, there was a statistical criteria
that we used and -- and we chose the specification

that most closely met

Q

is chosen

LRAL

mean

Okay.
What
from 30

that you

that

alternative

.~ocked

Criteria.

specifications.

at 30 differen:

- meant is you say this specification

BDoes

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10:50:07AM

10:50:20AM

10:50:38AM

10:50:54AM.

10:51: 06AM

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76

BY MS. SWEENEY: 10:58:02AM
QO Okay.
Now, in the Class certification
evidentiary hearing in the Indirect Purchaser case,
you described the work that you had done in this 10:58:16AM
Hurricane Katrina paper, and you said something to
the effect ~- correct me if I misstate this -- that
trying to predict the price of iPods in the but-for
world based on iPods that were sold in the before
period was like trying to calculate the price of 10:58:39AM
oil -- or excuse me, the price of ethanol from the
price of oil.
Do you remember that comment you made?
MR. MITTELSTAEDT: What's the citation,
please? 10:58:51AM
MS. SWEENEY: I don't know what the
citation is.
THE WITNESS: IT don't think I -- I mean, I
remember something along those lines, but I don't
think it was exactly as you're describing it. 10:58:58AM
BY MS. SWEENEY:
QO Maybe we'll find that during a breax, and
Z'ii come back to that.

Paragraph 5 of your report says:

AG

"Counsel for Apple has aszed “Ore

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24

25

me to address whether the
methodologies proposed by
Professor Noll in the Direct
Purchaser case can be used to
estimate class-wide damages.”

Do you see that?

A Yes.

Q When did counsel for Apple ask you that?

A Let's see. When was this? No, that
can't -- when was the date of this? It was maybe a

month before this report was filed.

Q That was the first time he had ever asked
you to conduct that analysis?

A To conduct that analysis.

Q Was that the first time that counsel for
Apple asked you to address whether the methodologies
proposed by Professor Noll in the Direct Purchaser
case can be used to estimate class-wide damages?

A Well, that was when he asked me to -- to
analyze it in a -- in a -- in the way that I have in

this report, I guess.

QO Is that the first time that counsel fer
Apple asked you to address whethe: the methodc_iccies
proposed by Professor Noli in the Direc t Purchaser
case can be used to estimate ciass-wicde damages:

77

10:59:23AM

10:59:28AM

10:59:48AM

11:00:08AM

11:00:33AM

d2:00:44AM

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A We may have taiked about those issues,
know, before, you know, when -- around the time t

Professor Noll fiied his report and was being

deposed. We may have aiso talked about it then.
0 But you don't -- I'm sorry.
A I'm sorry, but -- well...
0 Okay.

You were --
You were retained in this case before
Professor Noll's deposition, correct?

A I think that's right.

QO Well, you said in the deposition taken
the Indirect Purchaser case that you were retaine
within a couple of months before Professor Nolli's
deposition.

Do you recali that?

A I don't, but that sounds about right.
mean, I don't remember specifically when I was
retained or -- or I don't remember specifically

saying those words in my deposition.

QO Now, that deposition was an exhibit te
your report in this case, wasn't it?

A The deposition?

Q Wasn't it?

A don't hina ¢

you

hat

in

d

I

78
11:00:48AM
11:01:03AM
11:01:16AM
11:01:34AM
11:01:48AM
12:02:08A3M

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25

QO No, maybe not. I guess that was just the
evidentiary hearing that was an exhibit. Well,
we'll come back to that.

So you were --

You were retained before the time when
Apple filed its opposition to Plaintiffs' motion for
Class certification in the Direct Purchaser case,
correct?

A I believe so.

Q Okay.

And at that time, did you advise Apple as
to whether, in your opinion, Professor Noll's

proposed methodologies could be used to estimate

Class-wide damages?

A We may have had conversations about that.
Q Did you have conversations about that?

A IT don't remember, but it's possible.

QO Is it your practice when you are retained

by a client and you read a report and you read a

deposition transcript, that you then have

conversations with ccunsel about it?
A Yes
Co Okay
So de yor chin a ~Kelv “hav you had
discussions areund thant time ftvame, that is, pefore

79

11:02:09AM

11:02:41AM

11:02:56AM

11:03:13AM

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80
1 the time when Apple submitted its opposition to 11:03:23AM
2 Plaintiffs' Class certification motion?
3 MR. MITTELSTAEDT: Objection; calls for
4 speculation.
5 THE WITNESS: I really don't remember. We 11:03:30AM
6 could have. I know we talked about the report. I
7 remember talking about tying more than -- more than
8 anything else in particular. But we could have had
9 those conversations. It wouldn't surprise me,
10 especially if we had had a conversation about what 11:03:52AM
11 regression analysis is and, you know, that kind
12 of -- of conversation.
13 BY MS. SWEENEY:
14 QO When did you first form the opinion that
15 Professor Noii's proposed methodologies for 11:04:05AM
16 calculating damages could not be used in this case?
17 A Well, I'm sure that when I first read his
18 report, I -- TI wouid have -- well, I don't remember
19 exactly, but I'm sure that when I first read his
20 report, I wou.d have understood that there was not a 11:04:31AM
21 lot of detaii or there was a lot left out of those
22 descriptions ard prenably things that were not
23 considered wher you thought abcur those three
24 methods.
25 Buz i z Ss of, you sxnow, whem 2 sorted b2:104:52AM

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at

all

out and went back and -- and was a little bit

more rigorous

would

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pe when

Sa w

about what the problems were, that
T wrote this report.

hen you initially reviewed Professor

Noli'ts report and you had these initial

conversations with counsel for Apple, you had not

yet reached the conclusion that Professor Noll's

proposed methodologies for calculating damages would

not work in this case?

don't

said,

first

A

I do

n't know. I don't know if -- I just

remember what I thought at that time. As I

time, it

information, s

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there

about

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Q

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-- I

I'm sure that when I read it for the
is fairly -- there isn't a let of
o Itm -- I'm -- I'm wiiling to --

'm sure that I thought at the time

was not a lot of information in his report

chese damage methodologies.

Now,

I had asked or we asked in the

subpoena to you for you to produce all your time

records in

Wher

They

MS.

is case. We haven't gotten those.
e are these time records?
are with Jones Dav.
SWEENEY: Td like those pefore the
peositien necauss want to question

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11:04:54AM
11:05:08AM
11:05:23AM
11:05:52AM
11:06:13AM
12:06:26AM

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82
1 MR. MITTELSTAEDT: Well, I'll inquire. 11:06:28AM
2 THE WITNESS: I think they are.
3 MS. SWEENEY: I'll bring her back if we
4 don't have them before the end of the deposition.
5 BY MS. SWEENEY: 11:06:36AM
6 Q Did you convey to Mr. Middelstaedt or
7 anyone else at Jones Day or at Apple your views
8 about Professor Noll's proposed methodologies for
9 calculating damages back in 2008 before Apple filed
10 its opposition to Class certification? 11:06:56AM
11 A IT think I answered that. I can try --
12 QO It's a little different question and I
13 apologize. These are probably very similar
14 questions, but it's a little different.
15 I just want to know if you told any -- 11:07:12AM
16 first of all, who is your primary contact in this
17 matter? Is it Mr. Middelstaedt?
18 A Yes.
19 Q Anybody else that you have talked to?
20 A I've talked to Craig Stewart. 11:07:22AM
21 0 Anybody else?
22 A i've talked to Michael Scott.
23 Co Anybody else?
24 A No.
5 c Osay. 12:07:30AM

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83
1 So after you first reviewed the Noll 11:07:31AM
2 deciaration, what did you tell Apple's counsel about
3 your evaluation of it?
4 A Honestly, I can't possibly remember that.
5 Q Okay. 11:07:46AM
6 Did you discuss with Apple counsel at that
7 time whether you would be preparing a written report
8 that Apple would submit in connection with its
9 opposition to Class certification?
10 A I do not recall us having that 11:08:01AM
11 conversation.
12 Q Did you know at the time you began your
13 assignment that you wouldn't be submitting a report
14 at that time?
15 A I don't remember. T don't remember ever 11:08:23AM
16 thinking that IT was going to write a report, but --
17 Qo When did you first get the assignment to
18 write a report in the Direct Purchaser case?
19 A About a month before the report was filed.
20 Q Okay. 11:08:43AM
21 MR. MITTELSTAEDT: Can we take a short
22 break? And I will inquire about the records you
23 asxed about
24 MS. SWEENEY: Okay.
25 THE VIDEOGRAPHER: We're off the record at 12:09:Q1AM

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11:09 a.m.

(Recess taken.)

THE VIDEOGRAPHER: We're on the record at

11:20 a.m.

BY MS. SWEENEY:

Q Dr. Burtis, in your report you say that --

that Dr. French proposed the same three basic
approaches as Professor Noll.
How are the two reports or how are the

three methodologies by these two different experts

in these two different cases, how are they the same?

A Well, there are three -- they both propo

se

three methods. They both propose a before and after

method. They both propose a yardstick method in

which the price of or the prices, I guess, of iPod

Ss

are to be compared with some yardstick product, and

they both proposed a margin or markup method in
which the margins of iPods are compared to the
margins of some other product.

Q Are there any differences among the

approaches taken by Professor Noll and Dr. French?

A Weil, that's ~- none of these methods,
frankiy, by either Dr. French or Dr. Noll are very
detaiied. So, for example, in the before and afte
method, they both prepose sich method, comparison

ct

84

11:09:03AM

11:20:37AM

11:20:58AM

11:21:19AM

11:21:44AM

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85
1 before and after iPod prices. And they both propose 11:22:11AM
2 that there would be other variables in -- in the
3 regression equation that they would use.
4 But neither one of them really set out the
5 regression equation or, you know, said what 11:22:26AM
6 particular variables they were going to.use, so I
7 can't tell you that they would be identical
8 regressions.
9 Q But based on the reports as written, and
10 you have also read their deposition testimony, I 11:22:38AM
11 believe, what differences can you identify?
12 A Well, I guess I would just repeat my same
13 answer.
14 Q You can't identify any differences in the
15 three basic approaches taken by the two experts? 11:23:00AM
16 A . The three basic approaches are really the
17 same. The differences, I think, would come in the
18 way that they were implemented, and none of them
19 really went very far aiong the road of implementing
20 them. So we don't really know what differences 11:23:19AM
2) there would be.
22 ° But I'm just asking you based on the
23 report. Tim net saying, you know, based on what
24 they might ultimately do
Z5 Tim saying cased on their report, can you 11:23:30AM

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1 identify any differences in the approaches between
2 Professor Noll and Dr. French in the before and

3 after yardstick and markup methodologies for

4 calculating damages?

5 A I -- I --

6 Q It's a "yes" or "no" question. Can you

7 identify them? And if so, please do so.

8 MR. MITTELSTAEDT: Object to the "yes" or
9 "no" part as argumentative.
10 THE WITNESS: The three basic approaches
11 are very -- I mean, I don't know that there are any
12 differences in the basic approaches. Tf there are
13 differences, they are going to come in the
14 implementation, and I don't have sufficient
15 information to know exactly how they are going to
16 implement them.

17 BY MS. SWEENEY:

18 Q I'm not asking about implementation.
19 As the reports --

20 Have you read both reports?

21 A Yes.

22 QO And have you read the deposition of
23 Professor Noli?

24 A Yes

25 © Have you read the deposition of

86

11:23:32AM

11:23:49AM

11:24:06AM

11:24:21AM

11:24:30AM

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Dr. French?

A Yes.

Q Now, based on that information, can you,
as you're sitting here today right now, identify any
differences in the approaches taken by the two
experts with respect to the before and after
methodology, the yardstick methodology or the markup
methodology for calculating damages?

A So I would -- I would refer back to my
earlier answers. And here is an example of the
difficulty in answering this question more
specifically: In Dr. Noll's report, he describes
generally a before and after regression analysis.
He describes generally the kinds of variables that
he would include in that analysis. I think he
actually says there might be two different analyses,
one for the consumers and one for the wholesalers.

In his deposition, when he was asked some
questions about how he would implement that before
and after analysis, he said, "Well, I don't know if
I'm going to use a dummy variable approach."

Now, that would be a difference from
Dr. French, whe, I think, was planning on using a
But Dr. Noll has not toid

dummy variabie approach.

us €xact-~ -- what he wouid do in place of the dummy

87

11:24:36AM

11:24:45AM

11:25:03AM

11:25:24AM

11:25:45AM

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24

25

variable approach.

So it's unclear to me ~-- that is an
example of why it's difficult to know without
further information from both of them, frankly, what
they would do.

MS. SWEENEY: I'm going to move to strike
the answer as nonresponsive and ask the Court
Reporter to read back my question.

(Record read as follows:
"Oo Now, based on that
information, can you, as you're

sitting here today right now,

identify any differences in the

approaches taken by the two experts

with respect to the before and

after methodology, the yardstick

methodology or the markup

methodology for calculating

damages?")

THE WITNESS: I'm sorry, I don't know how
else to answer that guestion.

BY MS. SWEENEY:

1
°
x
oo

het

You said in yeur repert -- and I'm iookine

al paragraph 8 where you summarize your

88

11:26:11AM

11:26:26AM

11:26:33AM

11:26:33AM

11:26:58AM

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fo
cn

conclusions -- that Professor Noll's testimony shows

that he is doubtful that certain of these methods

can work.

And what are you referring to there

A I'm referring to the yardstick method.

0 Okay.

?

But not the before and after, and not the

markup method; is that correct?

A Well, it's unclear to me about the markup

method because it is relying -- at least one of his

variations relies on a comparison that is very

Similar to the yardstick method.

QO But Professor Noll did not express any

doubts himself about the markup method, correct?

A He only -- I think the doubt that he

expressed was whether or not he could find a product

that was similar enough to be used as a benchmark

for an iPod. That problem is going to occur in both

the yardstick method and the markup or margin

method, whatever he calls it. Margin.

Q And that problem that you refer to of

finding a comparison product, that would apply no

matter how Professor Noil applied the markup methoc
A No. As I said, he has two variations of
chat margin method. One is -- weii, no, I think it

11:27:27AM

11:27:38AM

11:28:00AM

It

11:28:17AM

L235: 4AM

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would apply to both because -- the first variation 11:28:55AM
is to find a product to simply compare the margin of
that product to the iPod margin. The other
variation is to find what the iPod margin would be
had the structure of the market that iPods were soid 11:29:12AM
in was different.
And in order to do that, he would need
some -- I think he was thinking of some
concentration method. So he would have to now find
a product to be used as a benchmark where he would 11:29:29AM
find the, if you will, the but-for concentration.
Q You say in your discussion of the before
and after methodology that the purported baseline
period before the alleged violation is too short.
Assuming that the after period begins in 11:30:02AM
April of 2003, how long is that purported baseline
period?
A I think it is about one and a half years.
I think it's somewhere -- yes. Well, in paragraph
19 of my report, I say that: 12:30:22AM
"The first generation cf iPod
was introduced in October of 2001,
just 1.5 years before the alleged

violation in 2003.

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A No.

Q In paragraph 10 of your r
still the summary of conclusions, y
Professor Noll's yardstick method,

"Based on my analysi
I do not believe that thi

will work."

eport, this

is

ou talk about

and you say:

s to date,

s method

And I just wanted to clarify it based on

your testimony that you gave earlie

analysis that you're referring to here where you say

r today.

The

"Based on my analysis to date," it's not that you

conducted any kind of -- well, stri

ke that.

What kind of analysis did you conduct?

A I considered the -- the -

that Dr. Noll offered and thought a

~ the products

bout other

products that could possibly be used and had the

same problem that Dr. Noll had,

really think of a product that is s

well, you would have to, I think,
products for different iPods,
difficult to come up with products

used as yardsticks here.

Q Okay.

imilar to --

use different

You said you considered the

Frofessor Noii referred toc.

What we

re cvwhose

which is I couldn't

92

11:32:06AM

11:32:29AM

11:32:41AM

11:33:01AM

11:33:24AM

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products?

A They were, I believe -- what was the first
one? PDAs, Smartphones and something else. Oh,
smart mobile telephones, portable CD/DVD players and
portable digital players produced by Apple's
competitors.

Q And just for the record, you're reading

from your report?

A Yes, in paragraph 25.
Q What page?

A Paragraph 25.

Q Okay.

When you say you considered the products,

what kind of research did you dco on those products,

if any?
A I'm sorry, what products?
Q The products that you just identified that

are listed in paragraph 25.

A What kind of research did I do?

QO You said -- in answer to an €arilier
question, you said you considered «he products that

Professor Noll referred to.

And my guestion is new: What exactly did
you do when you considered ~he Preducis? Did yor
conduct any research into the Supeoy and demand

93

11:33:36AM

11:33:57AM

11:34:04AM

11:34:20AM

11i:34:33AM

2.:34:47AM

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characteristics of those products that are

identified in paragraph 25 of your report?

A What I considered were the characteristics

of the products themselves and whether or not they
were Similar to the various iPod products.
0 Okay.

And what materials did you review to
consider the characteristics of those products
themselves?

A To the extent I reviewed any information,
it would be referred to in my report.
Q So other than what's referred to in your

report, you didn't review any materials in

connection with analyzing the characteristics of the

products that are identified in Paragraph 25 of your

report?
A That's correct.
Q Did you talk to anyone at Apple about the

characteristics of products that are identified in

paragraph 25 of your report?

A No.

QO Did you taik te anyone in the consumer
electronics industry apout the characteristics of
the products that are identified in 25 -- paragraph

25 of your report?

94

11:34:51AM

11:35:03AM

11:35:18AM

11:35:32AM

11:35:43AM

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95
A No. 11:36:01AM
Q Did you talk to anyone about it?
A I probably talked to colleagues at
Cornerstone about the characteristics of, for
example, a PDA, what is a PDA. What is a PDA 11:36:11AM
considered. What are the kind of features on a PDA.
Q Did you have these conversations with
colleagues at Cornerstone?
A I do remember having a conversation with
somebody about a PDA, about what a PDA is, yes. 11:36:32AM
Q Who did you talk to?
A I don't remember. Tt was either one of
two people, but IT don't remember which one.
Q Who were the two people that 1t might have
been? 11:36:45AM
A Tt was either Darwin Neher, N-E-H-E-R, or
Samid, S-A-M-I-D, Hussain, H-U-S-S-A-I-N, I think.
Q And what did you learn in these
conversations?
A That PDAs, the term "PDA" is fairiy broad, 11:37:01AM
and that. the characteristics on many of the PDAS are
different than the characteristics on iPods, at
least certain iPous
2 But you didr't conmduct anv separaze
anaiysis to figures our what exact. hose Le i:22AM

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97
1 MS. SWEENEY: We have it. Do you want to 11:38:47AM
2 look at it?
3 MR. MITTELSTAEDT: Well, as long as you
4 don't mind my going into similar questions with your
5 experts, I don't have any objection. 11:38:57AM
6 MS. SWEENEY: I think you'll find it's not
7 covered by the stipulation.
8 BY MS. SWEENEY:
9 QO All right. So going back to the work
10 performed by Dr. Neher or Dr. Hussain in connection 11:39:20AM
11 with this case, did they review your report, either
12 one of them?
13 A I know that Dr. Hussain did. I don't
14 recall if Dr. Neher did. I don't think he did,
15 but... 11:39:35AM
16 QO Did Dr. Hussain give you comments on your
17 report?
18 A Yes.
19 QO What were those comments?
20 A I don't remember. I talked to hima lot 11:39:45AM
21 abcur the issues and, you know, used him to, you
22 know, Just taik apout things and make sure that
23 chines were -- made sense and were right.
24 o Did you make changes to your reper nased
25 CM lage comments provided my Dr. Hussain? 11:40:07AM

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1 A I don't remember. I mean, I -- I think 11:40:17AM
2 that he -- I don't remember making any changes as a

3 result of those comments. Certainly no substantive

4 changes to my opinions.

5 ° Did you write every word in your report? 11:40:31AM
6 A Dr. Hussain wrote a first draft, and then

7 IT went through and made it my own.

8 QO When did Dr. Hussain write the first

9 draft?
10 A I don't remember specifically. 11:40:54AM
11 Q And what is Dr. Hussain's -- well, is his
12 CV on your website?
13 A I don't know.
14 Q And after Dr. Hussain wrote that first
15 draft and you revised it, did he look at subsequent 11:41:17AM
16 drafts?
17 A Probably.
18 Q So it was really a collaborative effort

19 between you and Dr. Hussain?
20 A No. The report is mine. The opinions are 11:41:30AM
21 mine. TIT find it very heipful to talk to smart
22 peopie about ideas that I have and reports that I
23 WILLE

4 2 But Or. Hussain wrote the first draft of

5 Ub Pepert 12:42:47AM

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A Only after I had talked to him. I told
him what I wanted in the report. T told him what
the conclusions were. T, you know -- it was not a

collaborative effort, if that's your question.

Q Did Mr. Middelstaedt, or any other counsel
for Apple, write any of your report?

A No.

Q Did Mr. Middelstaedt, or anyone else who

is counsel for Apple, comment on your report?

A They may have suggested some -- some word
changes.

QO Did you make those word changes?

A If -- if I thought that it made the report

more clear, I would.

Q But -- which ones do you recall having
made?

A I don't recall making any, actually.

QO Did anyone other than Dr. Hussain --

Well, first of all, was it
Mr. Middelstaedt or was it other counsel for Apple

who commented on your report?

A T believe it was Mr. Stewart.

9 Anyone other than Dr. Hussain and
Mr. Stewart whe commented or your repert?

4 No, met that = reca:.

11:42

11:42

11:42

11:42

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:49AM

:O03AM

:18AM

:34AM

>: 46AM

72 O4AM

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100
1 Q I don't think we need to mark this as an 11:43:35AM
2 exhibit, but I'm just going to show you because it's
3 already marked as an exhibit to your report, but
4 it's Exhibit C, which is the materials that you
5 relied upon. Excuse me, in your report you say 11:43:46AM
6 that, "This is a list of material that I considered
7 in preparing this report."
8 Is that right?
9 A Yes.
10 QO Okay. 11:44:02AM
il And is that a complete list of materials?
12 A I attempted to write a complete list of
13 materials.
14 Q Okay.
15 And since the date of your report, have 11:44:11AM
16 you reviewed any additional materials?
17 A No.
18 Q Okay.
19 You haven't looked at any price
20 announcements since the date of your report? 11:44:22AM
21 A The oniy hesitation IT have is I may
22 have -- = think there was a new iPod product
23 fritreduced, but I dern't vemember when it wes. But i
24 may have seen that annourcemert.
25 Co Do you remempme: what the product was? 11:44:42AM

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NO

101
1 A Tt's a new Nano, I believe. 11:44:44AM
2 Q You taik about Professor Noll's before and
3 after methodology, and then you also refer to what
4 you called Dr. French's, quote, “before-during,"
5 closed quote, methodology. 11:45:14AM
6 Would it matter to your opinion if there
7 were after data, that is, data, price data, product
8 data after the date that the anticompetitive conduct
9 ended? Would that change your opinion as to the
10 validity of conducting a "before-after”" analysis in 11:45:37AM
11 this case?
12 MR. MITTELSTAEDT: Object; compound.
13 THE WITNESS: No.
14 BY MS. SWEENEY:
15 QO In paragraph 15 of your report, you say 11:45:51AM
16 that before and after regression analysis typically
17 includes -- and I'm quoting now -- "Explanatory
18 variables such as the relevant competitive supply
19 and demand factors," closed quote.
20 Now, when you talk about those relevant 11:46:14AM
21 competitive supply and demand factors, are you
22 talking about the features that we talked about
23 earlier, such as capacity, size, weight,
24 screen-size, desicn?
5 A These would pe included in that group, but 21:46:32AM

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that's not

Q

A
variables
then there
variables
But, for e
affects su
to changes
those vari
I think th
price of i

Q

A

the entire group.
Okay.
What else would you include in that group?
Well, there are -- there are a set of
that, I guess, are somewhat obvious, and
are variables that -- there may be other
that IT won't be able to list for you.
xample, their cost is a variable that
pply. There are the variables that lead
in demand, and I don't know exactly what
ables are or how one would measure them.
at's part of the challenge in modeling the
Pods, actually.
Is that a challenge unique to iPods?

fothink it's a -~ particularly important

problems with respect to this product.

Q

A

exist for

world wher

iPods?

pefore, the

But it's not unique?

Well, unique I take to mean it would only
iPods. There may be other products in the
e the same problem exists.

is it unusually difficult in the case of

Ard that's because of what you described

difference in the products available

102

11:46:34AM

11:46:45AM

11:47:13AM

11:47:39AM

11:47:58AM

22:48:14AM

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103
1 before and during the anticompetitive conduct? 11:48:19AM
2 A No. This is a separate issue.
3 Q Okay.
4 So why is it that it's unusually difficult
5 in the case of iPods? 11:48:31AM
6 A Well, this relates to the factors, the
7 variables that you would put into a regression
8 equation that would measure, quantitatively measure
9 what effects changes in demand for iPods, why people
10 buy iPods and how those -- you know, to identify 11:48:52AM
11 those factors and quantify those factors, I think is
12 difficult in this case.
13 QO But why is it unusually difficult? Why is
14 it more difficult in the case of iPods than in the
15 case of other kinds of products? That's what I'm 11:49:06AM
16 getting at. That was my question.
17 A One of the things that I talked about in
18 this report and the other report was the notion that
19 people buy iPods because they are cool.
20 QO I did see reference to the "coolness 11:49:25AM
21 factor," as you put it.
22 And as an economist, have you ever used
23 that phrase before to talk about a product or
24 determining damages in an antitrust case?
25 A No. 12:49:44AM

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104
1 Q No. 11:49:45AM
2 Have you made any analysis of when, if
3 ever, Apple iPods became cool? Were they cool when
4 they were first introduced in 2001?
5 A That's -- that is the hard part of the 11:50:12AM
6 guestion, I think. I think understanding and
7 measuring and knowing the answer to whether or not
8 they were cool and how that coolness changed over
9 time is the problem.
10 Q So it's possible that iPods weren't cool 11:50:26AM
11 when they were introduced, but they became cool in,
12 say, 2002?
13 A Just as an observer to this, I think
14 that's probably -- there is some truth to that. T
15 don't know when it happened, and I don't know why it 12:50:43AM
16 happened. But there certainly -- they have
17 certainly become more attractive -- trying to think
18 of another word besides "cool" -- over time.
19 Q You think they are cooler now than they
20 were in 2001? 11:52:02AM
21 A Yeah. I mean, I do. But I don't have
22 any -- I don't have any measure of that. To can't
23 teil you that --
D4 QO i'm sorry
25 A That! fine, 9AM

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106
1 iPods. 11:52:58AM
2 Any others that you can identify?
3 A Well, so I suppose you could think of
4 coolness as one variable, but what I was trying to
5 communicate there is that there are various reasons 11:53:12AM
6 that people buy iPods, and the demand for iPods
7 changes over time.
8 And if you want to put those -- if you
9 want to use a before and after analysis, before and
10 after regression, you have to identify what those 11:53:28AM
11 variables are and put them in the regression.
12 And I've kind of summarized that with the
13 notion of coolness, but I don't know that they
14 are -- well, I don't think there is or could be a
15 Single variable that one could use for that. 12:53:40AM
16 QO So you said that there are various reasons
17 people buy iPods. Is that -- is that unique to
18 iPods, that there are various reasons that peopie
19 buy them?
20 A That alone, no. 21:54:05AM
21 Q Okay.
22 Another problem that you identify in
23 Professor Noli's before and after methodc_logy is
24 there are relatively few price chances in the
25 products over time. 2 ] AM
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What in your view would be a sufficient
number of price changes that would make the before
and after methodology work better?

A Tt depends. The more variables that you
put into a regression equation, the more data that
you need, which means the more price changes that
you need. So to the extent that there are a lot of
variables that affect the price of iPods, then the
more price changes that you need.

QO Okay.

Well, say we use the number of -- we use
variables to account for the different product
characteristics that you identified in paragraph 25
of your report. How many price changes would you
need in order to make the before and after
methodology workable in this case?

MR. MITTELSTAEDT: Object; assumes facts
not in evidence that it would be workable. Also
object that it's an incomplete hypotheticai.

THE WITNESS: Do you want me to answer?

BY MS. SWEENEY:

O Yeah.
A So it -- the answer would stitial me that
depends. Tt depends on how you specify ti mode..

107

11:54:40AM

11:54:56AM

11:55:19AM

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ke

:55:37AM

11:56:Q06AM

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24

25

smokeless

Q

Purchaser

A

Q

more than

Q

certified,

A

certified.

know.

Q

tobacco that were certified.

That was a number cf State Indirect
cases around the nation, correct?
That's correct.

How many of those did you work on?
I don't remember.

More than five?

I don't think so, but I'd have to look at

Around five?
IT honestly don't remember.

three.

And the Classes in those cases were all

correct?

There were a number cf Classes that were

Whether they were alli certified, I don't

And did the Plaintiffs' expert or experts

in those cases use a before-after regression

analysis?

A I don't remember. I don't think se,
would have to go back and look av the reports.
QO You -- in your report, you menticned
Apple's pricing strategy. Did vero. ask
Mr. Midde_staedt for aocumenis i:cm Apple wha

I know it was

109

11:57:54AM

11:58:05AM

11:58:13AM

11:58:30AM

11:58:43AM

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described Apple's iPod pricing strategy?

A No. The pricing strategy that I'm
referring to here is that the prices are constant
for, you know, fairly long periods of time, and then
when a new model comes out, the price of the old
model drops. That's what I'm referring to here, and
I saw that in the ~- in the data.

Q Is that related to the life-cycle of
technological products? Is that common, the pricing
strategy that you just described?

MR. MITTELSTAEDT: Object; compound.

THE WITNESS: Common? 1 don't know that
it's common.
BY MS. SWEENEY:
QO Ts this the first case that you have

worked on where the product at issue was a consumer
electronics product?

A No.

Q What other cases have you worked on

involving consumer eiectronics preducts?

A I worked om the Indirect Purchaser SRAM
case in which there were 4 mumber of electronics
products at issue. And I werked or the GPU case in
which there were cons imer ~@ctr fe oproeducrs And
Flash had Gicctromics preiduucts ce The res

110

11:59:27AM

12:00:06PM

12:00:15PM

12:00:26PM

Lerdu:4. PM

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that come to my mind, but I could look over my CV
and see if there are others.
QO Now these three cases, do they involve

inputs into consumer electronic products? The SRAM

is -~ it stands for what?
A Static random access memory.
Q And that's something that goes inside an

electronics product, correct?
A It is.
Q All right.
How about GPU?
A How about it what?
QO Is that something that goes in a consumer
electronics product?
A A GPU goes into a electronics product,
yes.
Q Okay.
What about Fiash?
A Flash is memory that is used in
electronics preducts.
QO Okay.

MR. METTELSTAEDT: When you come to a

convenient spot, may «ae breax for Lunch?
MS. SWEENEY: Why don't we wait until
lurch is here? &e srdcred in luncr. Do you know

12:00

12:01

12:01

lil

2:51PM

:04PM

:L7PM

:25PM

Dn EPM

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what time lunch is coming?

MS. ROACH: No.

MR. MITTELSTAEDT: Did you order lunch for
everypoody?

MS. SWEENEY: Yeah.

MR. MITTELSTAEDT: Good. Thank you.

MS. SWEENEY: You're welcome.

THE WITNESS: That's unusual.
BY MS. SWEENEY:

0 In your work as an economist, have you

ever had occasion to review business documents of a
party to litigation, such as strategic memoranda

describing pricing strategies?

A Have I ever done that?
QO Yeah.
A Sure.
Q Sure.

And would it surprise you to find that
Apple had strategic memoranda or other documents

describing its pricing strategies with respect to

iPods?

MR. MITTELSTAEDT: That's -- I object it's
argumentative, assumes facts mot in evidence.

THE WITNESS: I'm sorry, would it surprise
me ihe zl had iO SE

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12:01:54PM

12:02:00PM

12:02:10PM

12:02:30PM

12:02:37PM

N

22:02:4 7PM

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1 BY MS. SWEENEY:

2 Q Would it surprise you if they did have

3 chem?

4 A It wouldn't surprise me one way or the

5 other. I have found that it depends on a company's

6 kind of personality, the kinds of documents that

7 they generate.

8 Q Did you ask Apple if they had those kind
9 of documents?

10 A No.

11 Q Did you review any analyst reports?

12 A I don't recall reviewing analyst reports,

13 but if I did, they would be on this list of

14 materials considered.

15 Q Did you review the materials that

16 Professor Noll reviewed?

17 A I can't remember if I did or not. I may
18 have.

19 MS. SWEENEY: Do you want to take a short
20 break and we'll find out whether lunch is here?

21 MS. ROACH: Tt's here, actually.

22 MS. SWEENEY: Okay. We can breax for

23 eunch mow, if you like.

24 THE VIDEOGRAPHER: This is the end of Disk
25 2. We're otf the record ar 12:04 p.m.

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12:02:49PM

12:02:58PM

12:03:11PM

12:03:28PM

12:04:01PM

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that the before/after method won't work, does it 1:02:36PM
apply to those products, as well?
A There are other reasons besides the fact
that some products are only sold in one of those two
periods that leads me to the conclusion that this 1:02:49PM
method will likely not work, yes.
Q Okay.
So even absent that objection, overall, in
your view, there are too many problems with the
before/after methodology to use it in that case? 1:03:05PM
A There are additional problems, that's
correct.
QO And what are the additional problems?
A Well, I think that I set them out in my
report, but I will try to summarize them. 1:03:17PM
One -- and I think that we've talked a
little bit about this this morning -- is that the
pricing data doesn't have a lot of variability in
it, which makes it more difficuit to run a
regression. 1:03:38PM
Another problem, which I think we've also
touched on, is that the factors that determine iPod
pricing, tha: determirc, for examp_e, and affect the
demand for iPods are difficu:t te quantify. And sc

if you can' i quantify those impcrivant variables, 2:04:02PM

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then a regression isn't going to give you the right 1:04:04PM
result.
There is an issue with defining the period
that -- or the date at which there is a before and
after and whether or not there are other -- other 1:04:18PM
things that are going on at the same time that would
then make it more difficult to separate the effect
of those things from the effect of the conduct.
There is the issue that because there are
a lot of factors, there appear to be a lot of 1:04:47PM
factors that are affecting pricing, it's going to be
hard -- it's going to be more difficult to isolate
the effect of something that, you know, may or may
not have an effect on the price of iPods. It's --
it's like -- it's almost like finding a needle ina 1:05:07PM
haystack problem.
There are probably some other ones, but
T'd have to go through my report and look. Do you
want me to do that?
QO Are there any in your report -- 1:05:26PM
Are there any that aren't in your report
chat you wouid want to identify as you sit here
today?
A Ne. To thins that they are in my report.

You mentioned there was difficulty in 1:05:36PM

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THE WITNESS: Sure. To mean, when I talk 1:14:54PM
about the Direct Purchasers, I want to be accurately
talking about the Direct Purchasers.
BY MS. SWEENEY:
Q Okay. 1:15:05PM
You say that:
"Professor Noll provides no
economic analysis to show that the
four possible yardstick candidates
that he identified satisfied his 1:15:27PM
criteria for validity of the
yardstick product."
What economic analysis, if any, did you
use to evaluate those yardstick products that he
identified? 1:15:45PM
A The ~- what I did is in.my report, and I
talked about the products are different.
The point here is that I think -- I mean,
even Dr. Noll admits that this particular approach
is probably not going to work necause he can't find 1:16:13PM
products that are similar to -- similar enough to
iPod products or products that are -- that could be
used te isolate the effert cof 7 conduct
QO Ts that what Dr N said, h admitted
that this particular approach RPORARLY et goin 2126:34FM

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24

25

to work because he can't find products that are
Similar enough to iPod products? Did he say that?

A He said that he has more doubts that this
yardstick method will work than the other two, and

he said that the hangup is identifying the

comparative products.

Q But he didn't say that he doubted it would

work, did he?

A You know, I'm -- the answer that I just
gave to you are -- are quotes that I'm reading from
my report that he said.

QO And those are excerpts of his testimony;
is that correct?

A Yes, that's correct.

QO Between those quotes, there are other
words that he gave in his deposition, correct?

A I'm sure there are.

QO Yeah.

Now, Professor Noll said in his report
that:

"This could be a case where

you could use as your comparison

products fe h Vardst method

other perserna. media players."

Have you conducted any investigation inte

125
1:16:36PM
1:16:50PM
1:17:08PM
1:17:18PM
1:17:34PM
wie 46@PM

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NO
on

that question, whether this is a case where you
could use for your yardstick method as comparison
products products within the same market?

MR. MITTELSTAEDT: Object; that's
argumentative and it's also compound.
BY MS. SWEENEY:

QO You can answer.

THE WITNESS: Do you want to read it

again?
(Record read as follows:

"Oo Now, Professor Noll said
in his report that:

"This could be a case where
you could use as your comparison
products for the yardstick method
other personal media players."

"Have you conducted any
investigation into that question,
whether this is a case where you
could use for your yardstick method

comparison products products

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within the same market?")

THE WITNESS: No, 2. have nor.

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126
1:17:50PM
1:18:02PM
9:40:44AM
1:17:38PM
2:17:52PM
2:18:4QPM

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127
conduct to make that determination? 1:18:42PM
A You would need to determine whether or not
the aileged conduct led to a price increase of those
other products.
Q And did you inquire of Apple whether there 1:18:56PM
were -- whether Apple had any view as to whether
there were competing products within the same
product market?
A No
QO No. 1:19:13PM
Now, in paragraph 27, you conclude your
analysis of the yardstick approach by saying:
"Based on my analysis to date,
I don't believe that the yardstick
approach will work.” 1:19:28PM
And is --
Did you conduct any analysis other than
what you have testified about today and what's
described in your report?
A No. 1:19:42PM

MR. MITTELSTAEDT: Opjyection; asked and
answered this mornina.
THE WITNESS: Ne.

BY MS. SWEENEY:

Ona. ~:2Q0:L LPM

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technology product markets? 1:29:31PM
MR. MITTELSTAEDT: Object; compound, asked
and answered.
THE WITNESS: I cannot recall seeing a set
of prices for products that look like the prices 1:29:41PM
that we see Apple selling its iPods for at the Apple
store.
BY MS. SWEENEY:
Q You talk about the effect of omitted
variables. 1:30:22PM
What -- what are the omitted variables, in
your view, that are not in Professor Noll's proposed
before and after regression analysis?
A Well, Dr. Noll really hasn't provided us
with a list of the variables that he would put into 1:30:44PM
this model.
But one thing he said was that he did not
think that he would be able to include in a
regression the characteristics of the product that
we were talking about as cooiness. i:32:07PM
Q Did he say that in his report?
A No, I believe he said it in his
deposition.

0 Did you read everything he said in his

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24

25

A Yes.

0 Okay.

Other than coolness, any other factors
that he left out?

A As I said, he -- I don't think that he
provided us with a list of the variables that he
would put in.

Q Okay.

Now, so the only --

But Professor Noll talked about taking
into account product characteristics, right?

A Yes.

QO Okay.

Io want you to identify for me every
product characteristic that you think Professor Noll
should be -- should have taken account of other than
coolness.

A Well --

Q Are these the things that are described in
paragraph 25 of your report? Because I don't mean
to be asking you to repeat testimony you gave
earlier today. T just want to make sure that I've

covered ali the bases here.

re
ho

5 of my report?

QO Paragraph 25.

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ba
GQ
—

1:15PM

1:31:24PM

1:31:55PM

1:32:07PM

1:32:23PM

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A I don't think that's the right paragraph.

QO Okay. Let me look at it.
You're right, it's not paragraph 25.

Paragraph 18. Thank you.

A And I'm sorry, your question is are there

any other factors besides those listed in paragraph

18°?

Q Well, first let me ask you: Is it your

opinion that the factors listed between lines 4 and

8, is it your opinion or is it your reading of

Professor Noll's report that those factors would not

be accounted for in Professor Noll's regression
analysis?

A Well, I think that to the extent they
could be -- the question is whether or not you

actually can put the right variables into the

regression equation that should be in the regression

equation.
What Dr. Noll has or hasn't proposed
unclear to me.
Q So are you --
I'm getting at this omitted variables
question, because you raised that as a critiques
Prefessor Noll, right? You say that omitted

iaOles is @ pronlem with his ana vsis; isn'

is

136
1:32:40PM
1:33:02PM
1:33:19PM
1:33:37PM
2:33:53PM

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respect to the Indirect Purchaser Class, correct? 1:50:01PM
A That's correct.
QO Okay.
Are there any other cases here that we
haven't talked about where you gave testimony 1:50:13PM
regarding issues pertaining to Class certification?
Johnson & Johnson, I guess. That was a
Class case, correct?
A It was, yes.
Q But you don't recall whether you gave 1:50:26PM
testimony pertaining to the Class issues?
A I believe I did, but I can't really
remember what that was -~ what that testimony was
about.
Q Okay. 1:50:41PM
I'm sorry, and then I interrupted you.
You were about to list another case.
A Yes. In Re: Western States Wholesale
Natural Gas Antitrust Litigation. It's the first
one. 1:50:53PM
Q Oh. And do you recall whether the Class
was certified in that case?
A That is still going on
Q Stilt: pending. Okay.
ALL yvighe. This morning we were trying to L:52:15PM

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1 figure out when you were retained in this case, and 1:51:16PM
2 during the break, Mr. Middelstaedt got some
3 information.
4 Would you agree that you were retained by
5 Apple on or about September 8th, 2008? 1:51:31PM
6 A That's what the billing records indicate.
7 That sounds about right, too.
8 Q Okay.
9 And how many hours total have you worked
10 on the Direct Purchaser litigation in this case? 1:51:44PM
11 A I don't know.
12 Q In your billing, have you separated out
13 the Direct Purchaser versus the Indirect Purchaser
14 case?
15 A Yes. 1:51:59PM
16 Q Okay.
17 So can you give me a ballpark figure of
18 how many hours you have worked on the Direct
19 Purchaser case?
20 A I honestly don't know. 1:52:05PM
21 QO How much money has Apple paid to date to
22 you or to your company for the hours that you have
23 worked on the Direct Purchaser case?
24 A IT dontt -- f don't know.
25 C All right brS2Z:2 08

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149
1 Well, let's start with the expert report. 1:52:27PM
2 About how many hours did you spend working on the
3 expert report pertaining to Professor Noll?
4 A You know, I just don't know the answer to
5 this. I -- I could guess, but I don't know. 1:52:40PM
6 Q Was it more than 40 hours?
7 A I don't know. I think it's probably -- I
8 don't know.
9 QO You wrote this report when?
10 A The month of August. 1:53:07PM
11 Q Okay.
12 So -- and you don't have any idea how many
13 hours you spent during the month of August working
14 on the report?
15 A I was doing a lot of other things at the 1:53:16PM
16 same time, so at the end of the month, how many
17 hours there were, I just don't remember.
18 Q Did -- was it Dr. Hussain who wrote the
19 first draft?
20 A Yes. 1:53:32PM
21 Q How many hours, roughiy, did he spend
22 working on the report?
3 A Again, IT don't -- I don't remember. Io--
24 I don't remember.
5 ° When you were first engaged by Appie back 2153:44hh

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150
1 in 2008, how much time did you spend reviewing 1:53:48PM
2 Professor Noll's report at that time?
3 A I don't remember the number of hours. fr
4 don't remember it being a lot of time just reviewing
5 his report. Is that what you're asking me? 1:54:08PM
6 Q Not just reviewing his report.
7 Taking into account the time you spent
8 reviewing his report, thinking about it, talking to
9 Mr. Middelstaedt, reviewing the deposition, you
10 know, maybe you gave Mr. Middelstaedt some questions 1:54:23PM
ll for the deposition, all of that time in the initial
12 retention before Apple opposed Plaintiff's Motion
13 for Class Certification.
14 A Again, I don't really remember how many.
15 I could guess. I mean, it was certainly more than 1:54:39PM
16 10. it was probably more than 30.
17 QO So are you able to give me a better
18 estimate of the time that you spent back in late
19 2008 -- wait. That can't be right. Is that
20 right? -- late 2008 than you are about the amount cf 1:55:04PM
21 time you spent in August 2009?
22 A You know, I just don't remember. As I
23 said, I was doing a Lot of things and I tend to
24 write my hours down each day, and I didn’: icok. :
5 mean, =f id look, odut it didn't register in my heaa. Drba1r2.°0PM

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IT think I spent more time in, you know, 1:55:29PM
writing my report than I did in September of 2008,
when I was reading Dr. Noli's report and talking to
Mr. Middelstaedt about his deposition.
0 And did you -- 1:55:45PM
You read the deposition of Professor Noll
back then at the initial part of your retention,
correct?
A Yes.
QO Okay. 1:55:52PM
Now, I asked questions like this, but I
didn't ask this exact question: So why didn't you
write a report back in 2008 responding to Professor
Noll's declaration in this case?
A Nobody asked me to. 1:56:20PM
Q Did you ask why not?
A No.
Q You never discussed it with
Mr. Middelstaedt?
A IT don't recall having a discussion about 1:56:28PM
it, no
QO Now, one of the problems that you describe
in the before and after methodolicgy is that this is
a naissant, dynamic industry.
And what did you mean when you sa.d Lb2:56:56FM

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152
1 "naissant"? 1:56:58PM
2 A That it is relatively new.
3 Q So what would --
4 What would qualify as a non-naissant
5 industry? Would ten years be non-naissant, in your 1:57:17PM
6 view?
7 A That it is naissant, it began -- I guess
8 the point is that the conduct that's alleged here is
9 conduct that is -- that is alleged to have taken
10 place through almost the entire life of the product. 1:57:44PM
11 QO I'm not sure I understand how that affects
12 the determination of whether -- the whole idea that
13 the industry is naissant and, therefore, it's
14 difficult to conduct a regression analysis before
15 and after. 1:58:10PM
16 A Well, you have to explain prices not just
17 today, but you have to explain them throughout the
18 period that you're claiming damages. And that
19 period is almost the entire life of the products.
20 Q Okay. 1:58:26PM
21 So this is the same as your other
22 criticism, which is that the baseiine period is toc
23 shortj is that it? Is that what ve. mean here?
24 MR. MITTELSTAEDT: Ordectlon; cocnpound.
25 THE WITNESS: No. 22:58:36PM

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BY MS. SWEENEY: 1:58:38PM
OQ Weil, what's the difference between what
you just described and your criticism that the
baseline period is too short?
A Well, I think you're focusing on the word 1:58:49PM
"naissant." The sentence says "naissant" and
"dynamic" and --
Q T was going to get to dynamic.
A Well, the point is that it 1s -- it is an
industry that is -- where the damage period is 1:59:03PM
almost over the entire time and that there is a lot
of -- or a lot of things going on. There are a lot
of changes over -- over that time period.
QO Now, how many --
You were an expert in the SRAM case, 1:59:30PM
correct?
A In the Indirect Purchasers’ case.
Q In the Indirect Purchaser case.
And do you know how many products were at
issue in that case? 1:59:41PM
A Many.
QO How many?
A Are you asking me now many SRAM precducts
or how many products purchased by Indirect
Purchasers? 2259:31PM

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154
1 Q SRAM products. 1:59:54PM
2 A No, I don't know how many.
3 Q You don't have any idea?
4 A It's a difficult question.
5 Q Were there more than 10? 2:00:03PM
6 A Yes.
7 Q More than 20?
8 A Probably.
9 Q More than 50?
10 A I don't know. 2:00:10PM
11 Q What kind of materials would you look at
12 to determine whether there were valid benchmark
13 comparison products for the yardstick methodology?
14 A I'm sorry, what would I --
15 Q Let me give you an example. 2:00:45PM
16 Would it be usefui to look at analyst
17 reports that talk about -- well, two different kinds
18 of analyst reports, some that talk about the iPod
19 and some that talk about other consumer products
20 that could be possible penchmark products? 2:01:01PM
21 A Te wouldn't occur to me to look at analyst
22 reports, no.
23 QO How anpout irade press? Are there cerzain
24 journals and magazines deverted tc @.ectironics
25 products? 210l:19PM

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24

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MR. MITTELSTAEDT: Objection; compound. 2:01
THE WITNESS: There are journals that
are -- that are devoted to electronic products, yes.
BY MS. SWEENEY:
Q And would it be useful to look at those in 2:01
analyzing whether products could be used as
comparison products for the yardstick methodology?
A I think it would depend on what is in
those journals.
Q Did you look at any of the trade journals 2:01
having to do with this case?
A IT can't remember doing so, but if I did,
they would be listed on my materials considered.
Q Okay.
Other than the articles listed in your 2:02
materials list, did you iook at any consumer reviews
to analyze whether there are valid comparison

products?

A I would give the same answer.
QO Did you look at the documents that Apple 2:02
produced to the Direct Purchaser Piaintiffs in this
case?
A Totnink you would have te pe more
specific. Whoch are you -- what kind of documents
are you talking apour 21s

:21PM

:31PM

:45PM

:O0OPM

:29PM

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Q Well, did you ask Apple to see all the

decuments that Appie had produced to Plaintiffs

this case?

A No.

QO So you don't know whether you have seen

everything that was produced to Plaintiffs in this

case?

A That's correct.

Q How about in the Indirect Purchaser case?

Did you look at the --
Did you ask Apple to -- if

all the documents that were produced

Purchaser case -- Plaintiffs in that

A i don't recali asking that.

QO So you don't know whether you saw those
either?

A I don't recall.

° Are you familiar with the rule of reason

and per se distinctions that are used in antitrust

Law?

A General.

Q And what's your general understanding
how tnese Iwo Lcrms are used?

A My umacipstandine is tha
por eS Ll.eca@.l is - ito T'TD matter

you could see

in the Indirect

c something

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2:02:47PM

2:02:53PM

2:03:03PM

2:03:15PM

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A Well, I wouid want some background about 2:21:40PM
what the products are, when they were sold, when
they were introduced, you Know, what kind of
characteristics they have, some notion of what

:21:58PM

NO

prices look like. Those are the things I can think
of. Certainly, that's where I would start.

But based on that information, you know,
there may be other data that I would want to look at
after that.

Q When you say "characteristics," are you 2:22:18PM
referring to the product features that we've talked
about several times today?

A Probably at least that.

QO What else?

A Well, I would want to understand the kinds 2:22:32PM
of characteristics that affect the prices of the
products, to the extent that I could.

QO And what kind of --

First of ali, and where would you go to

collect this information about the characteristics 2:22:52PM
of the product?

A Well, some cf the information is, I think,

fairly easy to get trem -- from public scurces, from

And 2 thinx vou would have to engage in 4 2125:09PM

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littie bit more research to understand the factors 2:23:12PM
that affect the suppiy and demand of the products.
QO What kind of research?
A You know, I'm not sure. I'd have to think
about it. 2:23:24PM
Q You haven't thought about that before
today?
A I have not thought about where one would
go to collect information about the various
characteristics that -- and factors that affect the 2:23:49PM
supply and demand of iPods.
QO Now, the information about
characteristics, you could probably get that from
Apple, couldn't you?
A The way I think you're using that is 2:24:02PM
product features, and yes, I think that that
information is availabie from Apple publicly.
QO And in addition to the information
available pubiiciy, Apple aliso has product
specification kinds of dccuments, correct? 2:24:19PM
MR. MITTELSTAEDT: Object; calis for
speculation, iack of foundation.
THE WITNESS: Are you asxing me are there

additionas deecumerts that Appie has about prodicr

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1 BY MS. SWEENEY:

2 Oo Yes.

3 A I don't know.

4 Q You didn't ask that?

5 A No.

6 0 No.

7 And then information about when the

8 products are sold, where would you get that

9 information?
10 A That information, I believe, is in the
11 press releases.
12 OQ Which you attached to your report, right?
13 A Yes.

14 Q Okay.

15 And what about the pricing data that you
16 mentioned? What kind of pricing data would you

17 want?

18 A Well, I'd want to start with the data

19 that's out there in the press releases, for example.
20 Q Now, is it true that --
21 Say Apple issues a press reiease about a
22 rew cgeneration of iPod, which Apple sells through
23 (is Apple stcre and omiine and tc resé_iers.
24 De you have that in mind?
25 A Yes

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2:24:33PM

2:24:36PM

2:24:46PM

2:24:57PM

2:25:20PM

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1 Q Okay. 2:25:42PM
2 Now, for that particular product, that
3 modei, that generation, for ali purchasers other
4 than resellers, Apple charges the same price; is
5 that right? Is that how you understand it? 2:26:01PM
6 A That is what I understand, yes.
7 QO Okay.
8 So if two people purchase the same iPod
9 from the Apple store, they would pay the same price;
10 is that right? 2:26:15PM
11 A If they bought the same product at the
12 same time, yes.
13 Q Now, you said "at the same time."
14 You testified earlier that for each
15 generation of product, Apple keeps the price at the 2:26:29PM
16 same level for a certain period of time. I think
17 you used the expression "long period of time."
18 Did you say that?
19 A However long the period of time is, it's
20 constant over some period of time, that's correct. 2:26:42PM
21 Q Okay.
22 And so for every Class memoer who
23 porchased cne of those iPods from the Apple store
DA during that period cf time, these C_aAss memoers,
5 whether it's 2 or £,000 or 2 mil_icn, they paid the 2:26:1:53PM

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same price, right? 2:26:58PM
A For the same product?
Q Right.
A Right.
Q Okay. 2:27:02PM
And is there any other kind of pricing
information that you would want to conduct the
before and after analysis?
A Well, you're now asking me about
conducting it, and I thought that we were talking 2:27:22PM
about -- actually, I did not think that we were
talking about the before and after analysis at all.
I thought the question that you were
asking me was, "If you were going to estimate
damages, what kind of information would you be 2:27:36PM
trying to collect?" And that's the information that
I gave you. I don't think I ever said that I would
try to do a before and after analysis.
QO Okay.
So what would you use this data that you 2:27:50PM
would want to collect, what kind of analysis would
you conduct to estimate damages?
A Well, the point that i was trying to make
is that in crder for me to understand what type of

zo conduct, I would have te have some 2:28:04PM

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1 information about the products. 2:28:08PM
2 And this is the kind of information that I
3 would, at least at the beginning, try to familiarize
4 myself with.
5 QO Now, I've asked you a number of questions 2:28:27PM
6 pertaining to the kind of information you asked if
7 Apple had available.
8 Did you --
9 Did you seek out any other sources of
10 data? I mean -- let's strike that. 2:28:47PM
11 What investigation, if any, did you
12 conduct to determine whether the kinds of
13 information that you just described, whether that
14 kind of information exists?
15 A Well, I wasn't asked to estimate damages, 2:29:06PM
16 so I -- you know, IT never went through this process.
17 Q Okay.
18 So you didn't conduct any analysis to find
19 out whether that kind of information exists?
20 A Well, some of the information that we 2:29:21PM
21 talked about I know exists, because we were talking
22 about it as being an exhibit to one of my reports.
23 Q Okay
24 But other than --
25 But you didr'tt cenduct any additional 2:29:34PM

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NO

remember exactly what is in the press releases
versus what is in some of the -—- the other more
detailed documents that are available publicly.

QO And how about the non-Apple products, the

non-iPod products, the comparison products? You 2:46:

would look for the same kinds of information about
those products?
A Well, you know, the problem here is you

can't -- you have to -- you can't just start going

out and looking about -- looking at technical specs 2:46:

of all kinds of different products.
Q Okay.
Well, let's say that you hypothesized that

there are four or five possible comparison products.

Wouldn't you want to gather information about those 2:47:

products’ characteristics?
A It seems like -- it seems like there is a
step first -~- you know, some step in between.

But if you had identified some products

that were comparable in some way -- I'm not really 2:47:

sure how you would get to those four or five
products, but depending on how close they were to
the iPod products, then you might want to cet, you

know, the similar kind of specifications fcr them.

oO New, you seem to -- 2b stead

:46:

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You seem very skeptical that you could
figure cut what comparable products might be now,
but isn't this the kind of analysis that economists
do all the time, they try and find benchmark
products?

MR. MITITELSTAEDT: Object; argumentative
and compound.

THE WITNESS: You know, I can't think of

an example where a Plaintiff has put forward a

yardstick method where they are looking at -- where
they are trying to compare the price of some -- of
the product at issue with some other product. I

think it's really hard to do that, and I don't think
that it's -- it's typically done.
BY MS. SWEENEY:

Q If you are doing the -- the markup
analysis, would you also want to know information
about Apple's costs and profits?

A Well, the method is based on a margin, so
one would have to know Apple's margin.

QO Okay.

to

And what kind of data would you need

4

look at that? What would you ask Apple fer?
ef of dounts ancut

zhis method before we get to the part where i'm

180

2:47:45PM

2:47:59PM

2:48:11PM

2:48:29PM

2:48:46PM

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explain variation in prices, what level of -- 2:52
I guess what I'm trying to get at is:

What level of perfection do you have to have or does

it have to be a perfect fit in order for it to be

useful to you as an economist? 2:52:

A You could have a very high R squared,
indicating an almost perfect fit, and that would not
necessarily mean that you had come even close to
explaining the variation in prices.

Q And why would that be? What kinds of 2:52
things might account for that?

A Well, I can ~- I can think of an example
of running a regression with prices of products that
are quite different and including in that regression
characteristics of those products that might 2:53
generate a very high R squared. But for each of
those products with a particular set of
characteristics, there could be substantial
unexplained variation in prices.

QO Now, I asked questions that are related to 2:53

this, but I don't think T asked this specific

question: Is it your view that the coolness factor,

which I think you identified as a possip.e omitted

variable, is it your view that that ceclmess factor

is correlated with the pericl of anzticemperiiive 2:5

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:O05PM

:46PM

:18PM

2:58PM

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24

25

behavior?
A I think it could be.
Q But you haven't conducted any analysis to

find out whether it is or not?

A No. 2 think that would be important to
do

Q Tf Plaintiffs prove their case, how would
the -- and the remedy was to fix the
inoperability -- strike that.

Well, do you know whether iPod prices have

declined recently?

A The price of a particular iPod product
or =~

Q Any iPod products, say in the last six
months.

A I don't know.

QO You don't know. Okay.

Would that be relevant to your analysis in
this case?

don't

Fi

A IT -- you know, =f can't --
understand the context of the question. Would it be

relevant to what? Anything?

O Well, en's tas rout ithe pefeore and
after ana_ysis
"8s GLEVal ¢ BUY SVALUaTL of the

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2:54:21PM
2:54:29PM
2:55:07PM
2:55:22PM
2:55:39PM
£:093:.20PM

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MR. MITTELSTAEDT: Object; compound. 2:57:45PM
THE WITNESS: My opinion is that there are
substantial barriers to even being able to -- even
if you ran a regression analysis, the results
wouldn't tell you what you wanted to know, because 2:58:03PM
there are some -- some problems in -- in specifying
a model.
BY MS. SWEENEY:
QO Now, is this --
Looking at how Apple prices iPods to 2:58:22PM
consumer purchasers, that is, people who purchase
directly from Apple rather than -- strike that --
people who purchase from -- through the Apple store,
would you describe that as greater or lesser
complexity in pricing than you have seen in other 2:58:43PM
cases, such as SRAM?
MR. MITTELSTAEDT: Object; "complexity" is
ambiguous and undefined.
THE WITNESS: T'm not really sure -- I
don't know exactly what you're asking me to compare. 2:59:04PM
> understand that you're asking me to think about
Appie's prices through the Appie store, and then I'm

rot realiy sure what it is -- what -- the erher

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BY MS. SWEENEY: 2:59:20PM
° All right Well, let me try again.
So we talked about this earlier. So say
for a particular point in time, particular iPod
model, the price charged the Apple store is 2:59:31PM
identical for all purchasers, right? You have that
in mind?
A For a particular product, yes.
QO Okay.
Now, in the SRAM case, wasn't it true that 2:59:40PM
at any particular point in time, there could be
different prices charged to different purchasers for
the same product?
A That is true, that that happened -- that,
you know, we -- I saw that occur in the SRAM case. 3:00:01PM
QO Okay.
And wasn't it also true in the SRAM case
that some buyers had the ability to negotiate
prices?
A I believe that's right. 3:00:21PM
° And this case, consumers who purchase
iPods at the Appie store don't have any ability to
negev late prices; isn't that correci?
ny Consumers, that's correct, ves.
Okay. 5:00:36PM

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And what do you know about the ability of 3:00:37PM
resellers to negotiate prices for iPods?
A I don't know whether they do or not.
OQ Okay.
Didn't you conclude in the SRAM case that 3:00:49PM
there were differentiated products?
A So I worked on the Indirect Purchasers
case --
Q Right.
A -- of SRAM. 3:01:05PM
Q Okay. So let me modify my question.
That's correct.
Okay. So since you were working on the
indirect portion of the case, you were talking about
SRAM that was an input, correct, into certain 3:01:16PM
products or not?
A Well, I was actually thinking about the
products in which the SRAM actuaily may or may not
have been included.
Q Okay. 3:01:30PM
So de you know whether, at the next level
up, so in the -- so for what wouid be the products
at issue in the Direct Purchaser case, whether there
were -- whether those preducts were differentiated?
Did you reach any concsusicns ancut that? 3:01:44PM

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24

25

(Recess taken.)
THE VIDEOGRAPHER: We are on the record

3:30 p.m.
BY MS. SWEENEY:

QO What work have you done on this case si
you submitted your report on August 31st?

A I've just prepared for my deposition.

Q And how did you prepare for today's
deposition?

A I went back, read my report, read
Dr. Noll's report, looked over his deposition.

That's pretty much it.

Q Did you speak with counsel for Apple?

A Oh, yes, I did.

0 And who did you speak with?

A Mr. Middelstaedt and Mr. Stewart.

Q And when did you meet, or did you speak

the phone?

A We met yesterday.

Q How long?

A Couple hours.

QO Anything ese you did te prepare for

today's deposition?

T alk wo ate fee UR Rie 74
A T talked te FAMLD A LLTTLeG Plt. - Mm

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3:14:39PM

at
3:30:33PM

nce
3:30:41PM
3:30:53PM

on
3:31:03PM

Qu

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sorry, Dr. Hussain.
QO Anyone elise?
A No.
QO What other work do you anticipate doing in

this litigation?

A None.
QO Is it impossible, in your opinion, to
measure coolness, assuming that is a -- an attribute

of the iPod?
A I don't know of a way to measure it.
Q Have you investigated whether there is a

way to measure it?

A I have thought about it.

Q And?

A And I don't know of a way to measure it.

QO And have you talked to anybody else about
it?

A I -- I'm sure I've talked to Dr. Hussain

and Dr. Neher anpout it.
Q Who first introduced the term "coolness"?
Is that something that you came up with or is that

something that Mr. Middeistaedt came up with?

MR. MITTELSTAEDT Objection S'm not
sure what it is T thins it's compeund, mur it's
not -- that dceun't ¢ GL _i the possibis pases,

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3:31:18PM
3:31:27PM
3:31:46PM
3:31:58PM
3:32:13PM
3:32:27PM

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1 right? 3:32:31PM
2 MS. SWEENEY: Sure, it doesn't, you're
3 right.
4 MR. MITTELSTAEDT: So I think that's
5 compound, but there is something wrong with that 3:32:35PM
6 question. I'm not sure what the right term is.
7 MS. SWEENEY: I can withdraw it and ask a
8 new one.
9 BY MS. SWEENEY:
10 Q Did you, yourself, come up with the term 3:32:42PM
11 "coolness" in talking about iPods?
12 A Well, I don't know. I know that I've used
13 the term “cool” and "coolness" for many years. i'm
14 sure that I've attributed that word to iPods
15 probably long before I ever heard of this case, 3:33:05PM
16 SO --
17 QO Have you used it in any other expert
18 reports?
19 A No.
20 QO Did you read the Plaintiff depositions in 3:33:16PM
21 this case?
22 A No
23 Q Did you asx to see them?
24 A Tim irvine -- Tim trying te rememoer if 2!
25 read ther. ZT dentt velievs that 2 read them anda - 3:33:30PM

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